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                                    5736




         EXHIBIT B
                  Case 2:16-cv-00374-JRG-RSP Document 175-2 Filed 03/28/17 Page 2 of 17 PageID #:
                                                      5737
                                                      Claim Construction Chart

                                                          U.S. Patent No. 8,870,410
Claim Language                       Ultravision’s Constructions         Defendants’ Constructions   Court’s Construction
Claim 10                             No construction necessary.          Indefinite
1) “substantially uniform”
                                     If Court deems construction
                                     necessary, “does not create hot
                                     spots or dead spots”
Claim 12                             No construction necessary.      Indefinite
1) “substantially no illumination”

Claim 27                             No construction necessary.          Indefinite
1) “substantially uniform”
                                     If Court deems construction
                                     necessary, “does not create hot
                                     spots or dead spots”
Claim 28                             No construction necessary.      Indefinite
1) “substantially no illumination”




                                                                     1
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                                                      5738
                                                       Claim Construction Chart

                                                           U.S. Patent No. 8,870,413
Claim Language                       Ultravision’s Constructions               Defendants’ Constructions   Court’s Construction
Claim 2                              No construction necessary.                Indefinite
1) “substantially no illumination”

Claim 16                             No construction necessary.                Indefinite
1) “minimal amount of
illumination” /                      If Court deems construction
“minimum illumination”               necessary, “avoids light pollution”

Claim 17                             No construction necessary.                Indefinite
1) “substantially no illumination”




                                                                           2
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                                                        5739
                                                              Claim Construction Chart

                                                                  U.S. Patent No. 9,212,803
Claim Language                           Ultravision’s Constructions          Defendants’ Constructions          Court’s Construction
Claim 1                                  No construction necessary; this 35 U.S.C. § 112(6) function:
1) “means for directing light”           term is not governed by 35 U.S.C. directing light
                                         §112(6)
                                                                              35 U.S.C. § 112(6) structure:
                                                                              optical element, as shown in Figs.
                                                                              8A–8J and described in col. 8, ll.
                                                                              14–30.
Claim 3                                  No construction necessary.           “an assembly of lenses, distinct
1) “optical element ... comprises                                             from a single reflecting prism”
... a first element ... a second         If Court deems construction
element ...and a third element”1         necessary, only “optical element”
                                         in the identified phrases should be
                                         construed. Ultravision objects to
                                         the selective excising of terms
                                         from an overall quoted phrase.
                                         Despite multiple efforts to
                                         crystalize this issue, Ultravision
                                         still does not understand what
                                         claim language Defendants are
                                         asking the Court to construe
                                         because the phrases that they have
                                         identified contain ellipses
                                         making it unclear what claim
                                         language would be substituted
                                         with      Defendants’       proposed
                                         construction. It is confusing what
                                         precisely is being identified as
                                         needing construction in the context
                                         of the overall phrase.



1
 Defendants have directed Ultravision to authority indicating that the use of an ellipsis for identifying a claim term for construction is common and entirely
appropriate. Ultravision has not articulated how Defendants’ use of an ellipsis to identify particular claim terms is contrary to the common practice of district
courts and the Federal Circuit.

                                                                                  3
                    Case 2:16-cv-00374-JRG-RSP Document 175-2 Filed 03/28/17 Page 5 of 17 PageID #:
                                                        5740
                                                              Claim Construction Chart

                                                                  U.S. Patent No. 9,212,803
Claim Language                           Ultravision’s Constructions                  Defendants’ Constructions               Court’s Construction
                                         If Court deems construction
                                         necessary: “optical element” in
                                         ’803:3, 12 and ’642:16-17, 23-24 –
                                         “lens that comprises multiple
                                         elements”

                                         “optical element” in ’642:1 and
                                         ’307:1, 15, 20, 25 – “lens that
                                         includes multiple portions”
Claim 12                                 No construction necessary.                   “an assembly of lenses, distinct
1) “optical element ... comprises                                                     from a single reflecting prism”
... a first element ... a second         If Court deems construction
element ...and a third element”2         necessary, only “optical element”
                                         in the identified phrases should be
                                         construed. Ultravision objects to
                                         the selective excising of terms
                                         from an overall quoted phrase.
                                         Despite multiple efforts to
                                         crystalize this issue, Ultravision
                                         still does not understand what
                                         claim language Defendants are
                                         asking the Court to construe
                                         because the phrases that they have
                                         identified contain ellipses
                                         making it unclear what claim
                                         language would be substituted
                                         with      Defendants’       proposed
                                         construction. It is confusing what
                                         precisely is being identified as
                                         needing construction in the context

2
 Defendants have directed Ultravision to authority indicating that the use of an ellipsis for identifying a claim term for construction is common and entirely
appropriate. Ultravision has not articulated how Defendants’ use of an ellipsis to identify particular claim terms is contrary to the common practice of district
courts and the Federal Circuit.

                                                                                  4
                 Case 2:16-cv-00374-JRG-RSP Document 175-2 Filed 03/28/17 Page 6 of 17 PageID #:
                                                     5741
                                                Claim Construction Chart

                                                   U.S. Patent No. 9,212,803
Claim Language                Ultravision’s Constructions              Defendants’ Constructions   Court’s Construction
                              of the overall phrase.

                              If Court deems construction
                              necessary: “optical element” in
                              ’803:3, 12 and ’642:16-17, 23-24 –
                              “lens that comprises multiple
                              elements”

                              “optical element” in ’642:1 and
                              ’307:1, 15, 20, 25 – “lens that
                              includes multiple portions”
Claim 16                      No construction necessary.               Indefinite
1) “uniformly
illuminate”/“uniform          If Court deems construction
illumination”                 necessary, “does not create hot
                              spots or dead spots”




                                                                   5
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                                                          5742
                                                               Claim Construction Chart

                                                                  U.S. Patent No. 9,234,642
Claim Language                            Ultravision’s Constructions                 Defendants’ Constructions                Court’s Construction
Claim 1                                   No construction necessary.                  “an assembly of lenses, distinct
1) “optical elements each                                                             from a single reflecting prism”
including a first portion, a second       If Court deems construction
portion and a third portion”3             necessary, only “optical element”
                                          in the identified phrases should be
                                          construed. Ultravision objects to
                                          the selective excising of terms
                                          from an overall quoted phrase.
                                          Despite multiple efforts to
                                          crystalize this issue, Ultravision
                                          still does not understand what
                                          claim language Defendants are
                                          asking the Court to construe
                                          because the phrases that
                                          they have identified contain
                                          ellipses making it unclear what
                                          claim     language     would     be
                                          substituted     with   Defendants’
                                          proposed construction. It is
                                          confusing what precisely is
                                          being identified as needing
                                          construction in the context of the
                                          overall phrase.

                                          If Court deems construction
                                          necessary: “optical element” in
                                          ’803:3, 12 and ’642:16-17, 23-24 –
                                          “lens that comprises multiple
                                          elements”

                                          “optical element” in ’642:1 and
                                          ’307:1, 15, 20, 25 – “lens that

3
    Defendants do not understand Ultravision’s comment regarding ellipses since this claim phrase does not include ellipses.

                                                                                  6
                    Case 2:16-cv-00374-JRG-RSP Document 175-2 Filed 03/28/17 Page 8 of 17 PageID #:
                                                        5743
                                                              Claim Construction Chart

                                                                  U.S. Patent No. 9,234,642
Claim Language                           Ultravision’s Constructions                  Defendants’ Constructions               Court’s Construction
                                         includes multiple portions”

Claim 13                                 No construction necessary.                   Indefinite
1) “uniformly
illuminate”/“uniform                     If Court deems construction
illumination”                            necessary, “does not create hot
                                         spots or dead spots”
Claim 16                                 No construction necessary.           “an assembly of lenses, distinct
1) “optical element ... comprises                                             from a single reflecting prism”
... a first element ... a second         If Court deems construction
element ...and a third element”4         necessary, only “optical element”
                                         in the identified phrases should be
                                         construed. Ultravision objects to
                                         the selective excising of terms
                                         from an overall quoted phrase.
                                         Despite multiple efforts to
                                         crystalize this issue, Ultravision
                                         still does not understand what
                                         claim language Defendants are
                                         asking the Court to construe
                                         because the phrases that they have
                                         identified contain ellipses
                                         making it unclear what claim
                                         language would be substituted
                                         with      Defendants’       proposed
                                         construction. It is confusing what
                                         precisely is being identified as
                                         needing construction in the context
                                         of the overall phrase.



4
 Defendants have directed Ultravision to authority indicating that the use of an ellipsis for identifying a claim term for construction is common and entirely
appropriate. Ultravision has not articulated how Defendants’ use of an ellipsis to identify particular claim terms is contrary to the common practice of district
courts and the Federal Circuit.

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                    Case 2:16-cv-00374-JRG-RSP Document 175-2 Filed 03/28/17 Page 9 of 17 PageID #:
                                                        5744
                                                              Claim Construction Chart

                                                                  U.S. Patent No. 9,234,642
Claim Language                           Ultravision’s Constructions                  Defendants’ Constructions               Court’s Construction
                                         If Court deems construction
                                         necessary: “optical element” in
                                         ’803:3, 12 and ’642:16-17, 23-24 –
                                         “lens that comprises multiple
                                         elements”

                                         “optical element” in ’642:1 and
                                         ’307:1, 15, 20, 25 – “lens that
                                         includes multiple portions”
Claim 17                                 No construction necessary.                   “an assembly of lenses, distinct
1) “optical element ... comprises                                                     from a single reflecting prism”
... a first element ... a second         If Court deems construction
element ...and a third element”5         necessary, only “optical element”
                                         in the identified phrases should be
                                         construed. Ultravision objects to
                                         the selective excising of terms
                                         from an overall quoted phrase.
                                         Despite multiple efforts to
                                         crystalize this issue, Ultravision
                                         still does not understand what
                                         claim language Defendants are
                                         asking the Court to construe
                                         because the phrases that they have
                                         identified contain ellipses
                                         making it unclear what claim
                                         language would be substituted
                                         with      Defendants’       proposed
                                         construction. It is confusing what
                                         precisely is being identified as
                                         needing construction in the context

5
 Defendants have directed Ultravision to authority indicating that the use of an ellipsis for identifying a claim term for construction is common and entirely
appropriate. Ultravision has not articulated how Defendants’ use of an ellipsis to identify particular claim terms is contrary to the common practice of district
courts and the Federal Circuit.

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                   Case 2:16-cv-00374-JRG-RSP Document 175-2 Filed 03/28/17 Page 10 of 17 PageID #:
                                                       5745
                                                              Claim Construction Chart

                                                                  U.S. Patent No. 9,234,642
Claim Language                           Ultravision’s Constructions                  Defendants’ Constructions               Court’s Construction
                                         of the overall phrase.

                                         If Court deems construction
                                         necessary: “optical element” in
                                         ’803:3, 12 and ’642:16-17, 23-24 –
                                         “lens that comprises multiple
                                         elements”

                                         “optical element” in ’642:1 and
                                         ’307:1, 15, 20, 25 – “lens that
                                         includes multiple portions”
Claim 21                                 No construction necessary.                   Indefinite
1) “minimal amount of
illumination” /                          If Court deems construction
“minimum illumination”                   necessary, “avoids light pollution”

Claim 23                                 No construction necessary.                   “an assembly of lenses, distinct
1) “optical element ... comprises                                                     from a single reflecting prism”
... a first element ... a second         If Court deems construction
element ...and a third element”6         necessary, only “optical element”
                                         in the identified phrases should be
                                         construed. Ultravision objects to
                                         the selective excising of terms
                                         from an overall quoted phrase.
                                         Despite multiple efforts to
                                         crystalize this issue, Ultravision
                                         still does not understand what
                                         claim language Defendants are
                                         asking the Court to construe
                                         because the phrases that they have

6
 Defendants have directed Ultravision to authority indicating that the use of an ellipsis for identifying a claim term for construction is common and entirely
appropriate. Ultravision has not articulated how Defendants’ use of an ellipsis to identify particular claim terms is contrary to the common practice of district
courts and the Federal Circuit.

                                                                                  9
                   Case 2:16-cv-00374-JRG-RSP Document 175-2 Filed 03/28/17 Page 11 of 17 PageID #:
                                                       5746
                                                              Claim Construction Chart

                                                                  U.S. Patent No. 9,234,642
Claim Language                           Ultravision’s Constructions          Defendants’ Constructions                       Court’s Construction
                                         identified contain ellipses
                                         making it unclear what claim
                                         language would be substituted
                                         with      Defendants’       proposed
                                         construction. It is confusing what
                                         precisely is being identified as
                                         needing construction in the context
                                         of the overall phrase.

                                         If Court deems construction
                                         necessary: “optical element” in
                                         ’803:3, 12 and ’642:16-17, 23-24 –
                                         “lens that comprises multiple
                                         elements”

                                         “optical element” in ’642:1 and
                                         ’307:1, 15, 20, 25 – “lens that
                                         includes multiple portions”
Claim 24                                 No construction necessary.                 “an assembly of lenses, distinct
1) “optical element ... comprises                                                   from a single reflecting prism”
... a first element ... a second         If Court deems construction
element ...and a third element”7         necessary, only “optical element”
                                         in the identified phrases should be
                                         construed. Ultravision objects to
                                         the selective excising of terms
                                         from an overall quoted phrase.
                                         Despite multiple efforts to
                                         crystalize this issue, Ultravision
                                         still does not understand what
                                         claim language Defendants are

7
 Defendants have directed Ultravision to authority indicating that the use of an ellipsis for identifying a claim term for construction is common and entirely
appropriate. Ultravision has not articulated how Defendants’ use of an ellipsis to identify particular claim terms is contrary to the common practice of district
courts and the Federal Circuit.

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             Case 2:16-cv-00374-JRG-RSP Document 175-2 Filed 03/28/17 Page 12 of 17 PageID #:
                                                 5747
                                             Claim Construction Chart

                                                U.S. Patent No. 9,234,642
Claim Language             Ultravision’s Constructions          Defendants’ Constructions   Court’s Construction
                           asking the Court to construe
                           because the phrases that they have
                           identified contain ellipses
                           making it unclear what claim
                           language would be substituted
                           with      Defendants’       proposed
                           construction. It is confusing what
                           precisely is being identified as
                           needing construction in the context
                           of the overall phrase.

                           If Court deems construction
                           necessary: “optical element” in
                           ’803:3, 12 and ’642:16-17, 23-24 –
                           “lens that comprises multiple
                           elements”

                           “optical element” in ’642:1 and
                           ’307:1, 15, 20, 25 – “lens that
                           includes multiple portions”




                                                                11
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                                                         5748
                                                               Claim Construction Chart

                                                                  U.S. Patent No. 9,349,307
Claim Language                            Ultravision’s Constructions               Defendants’ Constructions        Court’s Construction
Claim 1                                   No construction necessary.                “an assembly of lenses, distinct
1) “optical elements each                                                           from a single reflecting prism”
including a first portion, a second       If Court deems construction
portion and a third portion”8             necessary, only “optical element”
                                          in the identified phrases should be
                                          construed. Ultravision objects to
                                          the selective excising of terms
                                          from an overall quoted phrase.
                                          Despite multiple efforts to
                                          crystalize this issue, Ultravision
                                          still does not understand what
                                          claim language Defendants are
                                          asking the Court to construe
                                          because the phrases that
                                          they have identified contain
                                          ellipses making it unclear what
                                          claim     language     would     be
                                          substituted     with   Defendants’
                                          proposed construction. It is
                                          confusing what precisely is
                                          being identified as needing
                                          construction in the context of the
                                          overall phrase.

                                          If Court deems construction
                                          necessary: “optical element” in
                                          ’803:3, 12 and ’642:16-17, 23-24 –
                                          “lens that comprises multiple
                                          elements”

                                          “optical element” in ’642:1 and
                                          ’307:1, 15, 20, 25 – “lens that

8
    Defendants do not understand Ultravision’s comment regarding ellipses since this claim phrase does not include ellipses.

                                                                                 12
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                                                       5749
                                                              Claim Construction Chart

                                                                  U.S. Patent No. 9,349,307
Claim Language                           Ultravision’s Constructions                Defendants’ Constructions                 Court’s Construction
                                         includes multiple portions”

Claim 12                                 No construction necessary.                 Indefinite
1) “uniformly
illuminate”/“uniform                     If Court deems construction
illumination”                            necessary, “does not create hot
                                         spots or dead spots”
Claim 13                                 No construction necessary.      Indefinite
1) “uniformly
illuminate”/“uniform                     If Court deems construction
illumination”                            necessary, “does not create hot
                                         spots or dead spots”
Claim 15                                 No construction necessary.          “an assembly of lenses, distinct
1) “optical elements ... each                                                from a single reflecting prism”
include a first portion, a second        If Court deems construction
portion and a third portion”9            necessary, only “optical element”
                                         in the identified phrases should be
                                         construed. Ultravision objects to
                                         the selective excising of terms
                                         from an overall quoted phrase.
                                         Despite multiple efforts to
                                         crystalize this issue, Ultravision
                                         still does not understand what
                                         claim language Defendants are
                                         asking the Court to construe
                                         because the phrases that
                                         they have identified contain
                                         ellipses making it unclear what
                                         claim     language     would     be
                                         substituted     with   Defendants’

9
 Defendants have directed Ultravision to authority indicating that the use of an ellipsis for identifying a claim term for construction is common and entirely
appropriate. Ultravision has not articulated how Defendants’ use of an ellipsis to identify particular claim terms is contrary to the common practice of district
courts and the Federal Circuit.

                                                                                 13
                     Case 2:16-cv-00374-JRG-RSP Document 175-2 Filed 03/28/17 Page 15 of 17 PageID #:
                                                         5750
                                                               Claim Construction Chart

                                                                   U.S. Patent No. 9,349,307
Claim Language                             Ultravision’s Constructions        Defendants’ Constructions                         Court’s Construction
                                           proposed construction. It is
                                           confusing what precisely is
                                           being identified as needing
                                           construction in the context of the
                                           overall phrase.

                                           If Court deems construction
                                           necessary: “optical element” in
                                           ’803:3, 12 and ’642:16-17, 23-24 –
                                           “lens that comprises multiple
                                           elements”

                                           “optical element” in ’642:1 and
                                           ’307:1, 15, 20, 25 – “lens that
                                           includes multiple portions”
Claim 20                                   No construction necessary.               “an assembly of lenses, distinct
1) “optical elements each                                                           from a single reflecting prism”
including a first portion, a second        If Court deems construction
portion and a third portion”10             necessary, only “optical element”
                                           in the identified phrases should be
                                           construed. Ultravision objects to
                                           the selective excising of terms
                                           from an overall quoted phrase.
                                           Despite multiple efforts to
                                           crystalize this issue, Ultravision
                                           still does not understand what
                                           claim language Defendants are
                                           asking the Court to construe
                                           because the phrases that
                                           they have identified contain
                                           ellipses making it unclear what
                                           claim     language     would     be

10
     Defendants do not understand Ultravision’s comment regarding ellipses since this claim phrase does not include ellipses.

                                                                                 14
                   Case 2:16-cv-00374-JRG-RSP Document 175-2 Filed 03/28/17 Page 16 of 17 PageID #:
                                                       5751
                                                              Claim Construction Chart

                                                                  U.S. Patent No. 9,349,307
Claim Language                           Ultravision’s Constructions        Defendants’ Constructions                         Court’s Construction
                                         substituted    with   Defendants’
                                         proposed construction. It is
                                         confusing what precisely is
                                         being identified as needing
                                         construction in the context of the
                                         overall phrase.

                                         If Court deems construction
                                         necessary: “optical element” in
                                         ’803:3, 12 and ’642:16-17, 23-24 –
                                         “lens that comprises multiple
                                         elements”

                                         “optical element” in ’642:1 and
                                         ’307:1, 15, 20, 25 – “lens that
                                         includes multiple portions”
Claim 22                                 No construction necessary.                 Indefinite
1) “minimal amount of
illumination” /                          If Court deems construction
“minimum illumination”                   necessary, “avoids light pollution”

Claim 25                                 No construction necessary.                 “an assembly of lenses, distinct
1) “each optical element ...                                                        from a single reflecting prism”
including a first portion, a second      If Court deems construction
portion and a third portion”11           necessary, only “optical element”
                                         in the identified phrases should be
                                         construed. Ultravision objects to
                                         the selective excising of terms
                                         from an overall quoted phrase.
                                         Despite multiple efforts to

11
  Defendants have directed Ultravision to authority indicating that the use of an ellipsis for identifying a claim term for construction is common and entirely
appropriate. Ultravision has not articulated how Defendants’ use of an ellipsis to identify particular claim terms is contrary to the common practice of district
courts and the Federal Circuit.

                                                                                 15
               Case 2:16-cv-00374-JRG-RSP Document 175-2 Filed 03/28/17 Page 17 of 17 PageID #:
                                                   5752
                                               Claim Construction Chart

                                                   U.S. Patent No. 9,349,307
Claim Language               Ultravision’s Constructions        Defendants’ Constructions   Court’s Construction
                             crystalize this issue, Ultravision
                             still does not understand what
                             claim language Defendants are
                             asking the Court to construe
                             because the phrases that
                             they have identified contain
                             ellipses making it unclear what
                             claim     language    would     be
                             substituted    with    Defendants’
                             proposed construction. It is
                             confusing what precisely is
                             being identified as needing
                             construction in the context of the
                             overall phrase.

                             If Court deems construction
                             necessary: “optical element” in
                             ’803:3, 12 and ’642:16-17, 23-24 –
                             “lens that comprises multiple
                             elements”

                             “optical element” in ’642:1 and
                             ’307:1, 15, 20, 25 – “lens that
                             includes multiple portions”
Claim 28                     No construction necessary.             Indefinite
1) “minimal amount of
illumination” /              If Court deems construction
“minimum illumination”       necessary, “avoids light pollution”




                                                                   16
